16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 1 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 2 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 3 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 4 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 5 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 6 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 7 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 8 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 9 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 10 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 11 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 12 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 13 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 14 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 15 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 16 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 17 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 18 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 19 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 20 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 21 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 22 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 23 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 24 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 25 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 26 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 27 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 28 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 29 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 30 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 31 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 32 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 33 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 34 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 35 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 36 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 37 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 38 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 39 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 40 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 41 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 42 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 43 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 44 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 45 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 46 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 47 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 48 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 49 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 50 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 51 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 52 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 53 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 54 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 55 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 56 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 57 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 58 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 59 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 60 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 61 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 62 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 63 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 64 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 65 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 66 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 67 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 68 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 69 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 70 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 71 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 72 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 73 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 74 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 75 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 76 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 77 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 78 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 79 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 80 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 81 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 82 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 83 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 84 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 85 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 86 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 87 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 88 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 89 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 90 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 91 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 92 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 93 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 94 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 95 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 96 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 97 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 98 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                    Pg 99 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                   Pg 100 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                   Pg 101 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                   Pg 102 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                   Pg 103 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                   Pg 104 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                   Pg 105 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                   Pg 106 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                   Pg 107 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                   Pg 108 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                   Pg 109 of 110
16-10115-shl   Doc 1   Filed 01/18/16 Entered 01/18/16 15:21:13   Main Document
                                   Pg 110 of 110
